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 1 PHILLIP A. TALBERT
   United States Attorney
 2 MATTHEW D. SEGAL
   Assistant United States Attorney
 3 ERIN S. MELLEN
   ANDREA A. KAFKA
 4 Trial Attorneys, Department of Justice, Tax Division
   501 I Street, Suite 10-100
 5 Sacramento, CA 95814
   Telephone: (916) 554-2700
 6 Facsimile: (916) 554-2900

 7 Attorneys for Plaintiff
   United States of America
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10                              IN THE UNITED STATES DISTRICT COURT

11                                 EASTERN DISTRICT OF CALIFORNIA

12
                                                         CASE NO. 2:13-CR-217 KJM
13   UNITED STATES OF AMERICA,
                                                         PROPOSED ORDER FOR RESTITUTION
14                                Plaintiff,

15                         v.                            DATE:  MAY 3, 2017
                                                         TIME:  9:00 A.M.
16   PAMELA HARRIS AND                                   COURT: Hon. Kimberly J. Mueller
     REBECCA BANDERA-MARTY,
17
                                  Defendants.
18

19

20                                             RESTITUTION ORDER

21         Pursuant to the plea agreement and in accordance with 18 U.S.C. § 3663(a)(3), defendants PAMELA

22 HARRIS and REBECCA BANDERA-MARTY must make restitution to the Internal Revenue Service in the

23 amounts listed below.

24         The total amount of restitution the defendants shall make to the Internal Revenue Service consists of

25 the following:

26
     Taxpayer Name                                   Tax Year          Total Restitution Due
27                                                                     (excluding interest)

28   SHIELDS, SHERRIE A                              2005               70,187.20


      RESTITUTION ORDER
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 1   LAKE, WAYNE R & CYNTHIA                         2005             62,689.60
     SORENSEN, GARY L & SUZANNE                      2005             14,228.89
 2   LUTZ, LEONARD A & ANN P                         2005              11,135.46
     SIMONSON, KIRSTEN L                             2006              579,956.24
 3   MARTY, MICHAEL K & JESSICA K                    2006              364,011.84
     STOWE, CINDY V                                  2006              373,023.99
 4   SHIELDS, SHERRIE A                              2006             112,003.02
     BUCKLEY, SARA E                                 2006             55,314.85
 5   POTTER, DEREK & KATHERINE                       2006              55,296.45
     GIBNEY, PETER & ELAINE                          2007              $83,513.46
 6   JULISON, MILES J & KATIE L                      2007             404,571.00
     CROSMAN, JANET L                                2007              323,014.13
 7
     DIETZENBACH, TERESA A                           2007             351,398.91
 8   TINGLER, CHARLES J & VICTORIA M                 2007             340,690.29
     CARLSON, JON                                    2007              80,241.55
 9   GIESKING, DARYL B                               2007             310,261.58
     ELLIS, MARK T & SUSAN D                         2007              279,935.56
10   ROBERTSON, ROBERT E & ESTHER L                  2007              91,122.68
     MARTY, MICHAEL K & JESSICA K                    2007              288,813.52
11   MARTY, MICHAEL J & TERESA M                     2007              277,832.00
     POTIKER, JODY                                   2007              86,436.01
12   GRANT, GARY G & RENEE R                         2007              111,945.48
     WEISSKOPF, CAROL                                2007              228,394.31
13   SIMONSON, JOSHUA M                              2007              92,349.68
     HESSER, PETER                                   2007              118,927.70
14   HELD, ROBERT & CARLA                            2007              151,149.65
     AZELTINE, TY                                    2007             81,163.39
15   VENTURA, ROBERT N                               2007             124,290.19
     SHIELDS, SHERRIE A                              2007             106,492.00
16   RODRIGUEZ, RICHARD S & SHONNA                   2007              36,427.39
     BOWERS, DALE E & DOROTHY S                      2007             87,403.82
17   MERCER, WILLIAM                                 2007              80,397.00
     PROCTOR, CHARLES & JANICE                       2007             77,651.00
18   COX, INGA J                                     2007              63,679.00
     STENNES-COX, BARBARA E                          2007              62,957.00
19   TORRES-FRACASSO, DIEGO                          2007              57,942.22
20   HESSER, CHERYL L                                2007              20,059.84
     HARRIS, PAUL F & BARBARA C                      2007             1,936.44
21   BAUM, KENT & ANN ROBERTS                        2007              23,327.00
     EMERY, DAVID A                                  2007              4,931.00
22   SIMONSON, KIRSTEN L                             2007              2,060.35
     LUTZ, LEONARD A & ANN P                         2007              2,916.00
23   Total                                                            $6,177,365.16

24

25          Defendants TERESA MARTY, PAMELA HARRIS, and REBECCA BANDERA-

26 MARTY owe this restitution jointly and severally with the above-named taxpayers for the tax

27 periods listed above.

28          Defendants Harris and Bandera-Marty shall make all restitution payments to


      RESTITUTION ORDER
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 1 United States District Court for the Eastern District of California
   Clerk's Office
 2 Attn: Financial Section
   501 I Street, 4-200
 3 Sacramento, CA 95814

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 5          The defendants shall include, with her payments to the District Court, her name and social security

 6 number, the District Court's docket number assigned to this case, the tax year(s) or period(s) for which

 7 restitution has been ordered, and a request that this information be sent, along with the payment(s), to the

 8 appropriate office of the Internal Revenue Service. The Clerk's Office shall send the defendant's restitution

 9 payment(s), along with the information provided by the defendant, to the Internal Revenue Service at the

10 following address:

11
   IRS - RACS
12 Attn: Mail Stop 6261, Restitution
   333 W. Pershing Ave.
13 Kansas City, MO 64108

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15          IT IS SO ORDERED this 5th day of May, 2017.

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                                                               UNITED STATES DISTRICT JUDGE
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      RESTITUTION ORDER
